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8                                     UNITED STATES DISTRICT COURT

9                                   SOUTHERN DISTRICT OF CALIFORNIA

10                               (HONORABLE ANTHONY J. BATTAGLIA)

11   UNITED STATES OF AMERICA,                     )   Case No. 06cr590-MLH
                                                   )
12                  Plaintiff,                     )
                                                   )
13   v.                                            )
                                                   )
14   RUBEN OROZCO,                                 )   ORDER MODIFYING BOND
                                                   )   CONDITIONS
15                                                 )
                    Defendant.                     )
16                                                 )
                                                   )
17   ___________________________________

18
            Good cause having been shown, IT IS HEREBY ORDERED that the stipulation accompanying
19
     this Order is accepted, and that pretrial conditions of release are modified to permit Mr. Orozco to travel
20
     to Nevada for one forty-eight hour period for business. Mr. Orozco shall contact his pretrial services
21
     officer immediately before and after this trip. All other bail conditions shall remain in effect.
22
     SO ORDERED.
23

24
     DATED: November 15, 2006
25

26                                                         Hon. Anthony J. Battaglia
                                                           U.S. Magistrate Judge
27                                                         United States District Court

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                                                          1                                              06cr0590
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